Case
Case3:21-cv-12057-ZNQ-TJB
     3:21-cv-12057-ZNQ-TJB Document
                           Document31-1
                                    23-1 Filed
                                         Filed08/31/21
                                               07/09/21 Page
                                                        Page11of
                                                               of34
                                                                  34PageID:
                                                                    PageID:139
                                                                            86



                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


  GENESIS LABORATORY                    Case No. 3:21-cv-12057-ZNQ-TJB
  MANAGEMENT LLC,

                      Plaintiff,
                                        Motion Day: August 2, 2021
  v.

  UNITED HEALTH GROUP, INC.,
  UNITED HEALTHCARE SERVICES, INC.,     Document Filed Electronically
  OXFORD HEALTH PLANS, INC.,

                      Defendants.




          DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
            MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(6)




 Jenny Kramer                            William H. Jordan (admitted pro hac vice)
 Christopher J. Borchert                 Jordan Elise Edwards (admitted pro hac vice)
 ALSTON & BIRD LLP                       ALSTON & BIRD LLP
 90 Park Avenue                          One Atlantic Center
 New York, New York 10016                1201 West Peachtree Street
 Tel. (212) 210-9400                     Atlanta, Georgia 30309
 Fax (212) 210-9444                      Tel. (404) 881-7000
 Jenny.Kramer@alston.com                 Fax (404) 881-7777
 Christopher.Borchert@alston.com         Bill.Jordan@alston.com
                                         Jordan.Edwards@alston.com

                                         Attorneys for Defendants
Case
Case3:21-cv-12057-ZNQ-TJB
     3:21-cv-12057-ZNQ-TJB Document
                           Document31-1
                                    23-1 Filed
                                         Filed08/31/21
                                               07/09/21 Page
                                                        Page22of
                                                               of34
                                                                  34PageID:
                                                                    PageID:140
                                                                            87



                                                     TABLE OF CONTENTS

 PRELIMINARY STATEMENT .................................................................................................... 1

 FACTUAL BACKGROUND ......................................................................................................... 2

 LEGAL STANDARD ..................................................................................................................... 5

 ARGUMENT .................................................................................................................................. 6

 I.        COUNT I AND COUNT VI FAIL AS A MATTER OF LAW BECAUSE THERE
           IS NO PRIVATE RIGHT OF ACTION UNDER THE FFCRA, THE CARES ACT,
           THE HINT ACT, OR HCAPPA ......................................................................................... 6

           A.         There Is No Private Right Of Action Under The FFCRA Or The CARES
                      Act. .......................................................................................................................... 6

                      1.         No express private right of action. .............................................................. 7

                      2.         No implied private right of action. .............................................................. 7

           B.         There Is No Private Right Of Action Under The HINT Act Or HCAPPA. ............ 9

 II.       COUNTS II THROUGH VI FAIL BECAUSE THEY ARE PREEMPTED BY
           ERISA ................................................................................................................................10

           A.         Relief To Genesis Must Come, If At All, Through ERISA’s Exclusive
                      Enforcement Scheme. ............................................................................................10

           B.         ERISA Broadly Preempts State Law Claims That “Relate To” An Employee
                      Benefit Plan Governed By ERISA. ....................................................................... 12

           C.         Genesis’s Contract Claims (Counts II and III) And Estoppel Claim (Count
                      V) Are Preempted. ................................................................................................ 13

           D.         Genesis’s Unjust Enrichment & Quantum Meruit Claims (Count IV) Are
                      Preempted. ............................................................................................................ 15

 III.      GENESIS FAILS TO STATE A CLAIM FOR BREACH OF IMPLIED
           CONTRACT (COUNT II), BREACH OF THE IMPLIED COVENANT OF
           GOOD FAITH AND FAIR DEALING (COUNT III), PROMISSORY ESTOPPEL
           (COUNT V), AND VIOLATIONS OF NEW JERSEY HINT ACT & HCAPPA
           (COUNT VI) ..................................................................................................................... 17

           A.         Genesis Fails To State A Claim For Breach Of Implied Contract (Count II).
                      ............................................................................................................................... 17

           B.         Genesis Fails To State A Claim For Breach Of The Covenant Of Good Faith
                      And Fair Dealing (Count III). ............................................................................... 21

                                                                          i
Case
Case3:21-cv-12057-ZNQ-TJB
     3:21-cv-12057-ZNQ-TJB Document
                           Document31-1
                                    23-1 Filed
                                         Filed08/31/21
                                               07/09/21 Page
                                                        Page33of
                                                               of34
                                                                  34PageID:
                                                                    PageID:141
                                                                            88



           C.         Genesis Fails To State A Claim For Promissory Estoppel (Count V)................... 22

           D.         Genesis Fails To State A Claim For Violations Of New Jersey HINT Act &
                      HCAPPA (Count VI) ............................................................................................ 23

 IV.       UNITEDHEALTH GROUP INCORPORATED SHOULD BE DISMISSED................ 25

 CONCLUSION ............................................................................................................................ 26




                                                                     ii
Case
Case3:21-cv-12057-ZNQ-TJB
     3:21-cv-12057-ZNQ-TJB Document
                           Document31-1
                                    23-1 Filed
                                         Filed08/31/21
                                               07/09/21 Page
                                                        Page44of
                                                               of34
                                                                  34PageID:
                                                                    PageID:142
                                                                            89




                                                   TABLE OF AUTHORITIES



 Cases                                                                                                                                 Page(s)

 1975 Salaried Ret. Plan for Eligible Emps. of Crucible, Inc. v. Nobers,
    968 F.2d 401 (3d Cir. 1992)...............................................................................................12, 16

 Aetna Health Inc. v. Davila,
    542 U.S. 200 (2004) ...........................................................................................................10, 11

 Alexander v. Sandoval,
    532 U.S. 275 (2001) ...............................................................................................................6, 7

 Am. Video Duplicating, Inc. v. City Nat’l Bank,
    No. 2:20-CV-04036, 2020 WL 6882735 (C.D. Cal. Nov. 20, 2020) ........................................8

 Ashcroft v. Iqbal,
    556 U.S. 662 (2009) ...................................................................................................................4

 Atl. Shore Surgical Assocs. v. Horizon Blue Cross Blue Shield of N.J.,
     No. 17-cv-07534 (FLW) (DEA), 2018 U.S. Dist. LEXIS 90734 (D.N.J. May
     31, 2018) ............................................................................................................................11, 15

 Baer v. Chase,
    392 F.3d 609 (3d Cir. 2004)...............................................................................................18, 20

 Bell Atl. Corp. v. Twombly,
     550 U.S. 544 (2007) ...................................................................................................................4

 Benak v. Alliance Capital Mgmt. L.P., 435 F.3d 396 (3d Cir. 2006) ..............................................1

 Broad St. Surgical Ctr., LLC v. United Health Grp., Inc.,
    Civil No. 11-2775 (JBS/JS), 2012 U.S. Dist. LEXIS 30466 (D.N.J. Mar. 6,
    2012) ........................................................................................................................................19

 Canadian Nat’l Ry. v. Vertis, Inc.,
    811 F. Supp. 2d 1028 (D.N.J. 2011) ........................................................................................17

 Cohen v. Horizon Blue Cross Blue Shield of New Jersey,
    No. CV154525, 2015 U.S. Dist. LEXIS 140344, 2015 WL 6082299 (D.N.J.
    Oct. 15, 2015) ..........................................................................................................................11

 Connelly v. Lane Constr. Corp.,
    809 F.3d 780 (3d Cir. 2016).......................................................................................................4




                                                                        iii
Case
Case3:21-cv-12057-ZNQ-TJB
     3:21-cv-12057-ZNQ-TJB Document
                           Document31-1
                                    23-1 Filed
                                         Filed08/31/21
                                               07/09/21 Page
                                                        Page55of
                                                               of34
                                                                  34PageID:
                                                                    PageID:143
                                                                            90



 Ctr. for Special Procs. v. Conn. Gen. Life Ins. Co.,
     Civil Action No. 09-6566 (MLC), 2010 U.S. Dist. LEXIS 128289 (D.N.J.
     Dec. 6, 2010) ............................................................................................................................19

 Danna v. Expeditive, LLC,
    Civil Action No. 16-34 (JBS/JS), 2017 U.S. Dist. LEXIS 750 (D.N.J. Jan 4.,
    2017) ........................................................................................................................................20

 Doe v. Princeton Univ.,
    790 F. App’x 379 (3d Cir. 2019) .............................................................................................23

 Estate of Patterson v. City of Pittsburgh, Civil Action No. 11-1021, 2011 U.S.
    Dist. LEXIS 118344 (W.D. Pa. 2011) .......................................................................................1

 E. Orange Bd. of Educ. v. N.J. Sch. Constr. Corp.,
     963 A.2d 865 (N.J. Sup. Ct. App. Div. 2009)....................................................................22, 23

 Frederico v. Home Depot,
    507 F.3d 188 (3d Cir. 2007).....................................................................................................17

 Gonzaga Univ. v. Doe,
    536 U.S. 273 (2002) ...................................................................................................................6

 Haghighi v. Horizon Blue Cross Blue Shield of N.J.,
    No. 19-20483 (FLW), 2020 U.S. Dist. LEXIS 157246 (D.N.J. Aug. 31, 2020) .....................23

 Ingersoll-Rand Co. v. McClendon,
    498 U.S. 133 (1990) .................................................................................................................12

 Iwanicki v. Bay State Milling Co.,
    No. 11-01792 (CCC), 2011 U.S. Dist. LEXIS 140944 (D.N.J. Dec. 7, 2011) ........................21

 Johnson v. JPMorgan Chase Bank, N.A.,
    488 F. Supp. 3d 144 (S.D.N.Y. 2020)........................................................................................6

 Kenny v. Onward Search,
    Civil Action No. 15-0456 (JLL) (JAD), 2015 U.S. Dist. LEXIS 49929 (D.N.J.
    Apr. 15, 2015) ..........................................................................................................................20

 Kofler v. Sayde Steeves Cleaning Serv., Inc.,
    No. 8:20-CV-1460-T-33AEP, 2020 WL 5016902 (M.D. Fla. Aug. 25, 2020) .........................7

 Kollman v. Hewitt Assocs., LLC,
    487 F.3d 139 (3d Cir. 2007).....................................................................................................13

 Malecki v. Christopher,
    No. 4:CV-07-1829, 2008 WL 11496499 (M.D. Pa. Mar. 20, 2008) .........................................7



                                                                         iv
Case
Case3:21-cv-12057-ZNQ-TJB
     3:21-cv-12057-ZNQ-TJB Document
                           Document31-1
                                    23-1 Filed
                                         Filed08/31/21
                                               07/09/21 Page
                                                        Page66of
                                                               of34
                                                                  34PageID:
                                                                    PageID:144
                                                                            91



 Mass. Mut. Life Ins. Co. v. Russell,
   473 U.S. 134 (1985) .................................................................................................................10

 Masterson Pers., Inc. v. McClatchy Co.,
   Civ. No. 05-1274, 2005 WL 3132349 (D. Minn. Nov. 22, 2005) ...........................................25

 Matava v. CTPPS, LLC,
    No. 3:20-CV-01709, 2020 WL 6784263 (D. Conn. Nov. 18, 2020) .....................................6, 8

 Medwell, LLC v. Cigna Corp.,
   Civ. No. 20-10627 (KM) (ESK), 2021 U.S. Dist. LEXIS 96292 (D.N.J. May
   19, 2021) ............................................................................................................................16, 19

 Menkes v. Prudential Ins. Co. of Am.,
   762 F.3d 285 (3d Cir. 2014).....................................................................................................12

 MHA, LLC v. Amerigroup Corp.,
   Civ. No. 18-16042 (KM) (JSA), 2021 U.S. Dist. LEXIS 94147 (D.N.J. May
   17, 2021) ..........................................................................................................................2, 9, 23

 MZL Cap. Holdings, Inc. v. TD Bank, N.A.,
   Civil No. 14-5772, 2016 U.S. Dist. LEXIS 103177 (D.N.J. Aug. 5, 2016) ......................21, 22

 N. Jersey Brain & Spine Ctr. v. CIGNA Healthcare of N.J.,
     No. 09-2630, 2010 U.S. Dist. LEXIS 152435 (D.N.J. Jan. 12, 2010) .....................................13

 N.Y. State Conf. of Blue Cross & Blue Shield Plans v. Travelers Ins. Co.,
    514 U.S. 645 (1995) .................................................................................................................12

 Nat’l Sec. Sys., Inc. v. Iola,
    700 F.3d 65 (3d Cir. 2012).................................................................................................12, 13

 Noble v. Samsung Elecs. Am., Inc.,
    682 F. App’x 113 (3d Cir. 2017) .............................................................................................20

 Noye v. Hoffmann-La Roche, Inc.,
    570 A.2d 12 (App. Div. 1990) .................................................................................................21

 In re Penn Cent. Transp. Co.,
     831 F.2d 1221 (3d Cir. 1987)...................................................................................................17

 In re Pennsylvania,
     No. 13-CV-1871, 2013 WL 4193960 (E.D. Pa. Aug. 15, 2013) ...............................................7

 Pilot Life Ins. Co. v. Dedeaux,
     481 U.S. 41 (1987) ...................................................................................................................10

 Plastic Surgery Ctr., P.A. v. Aetna Life Ins. Co.,
    967 F.3d 218 (3d Cir. 2020)............................................................................................. passim

                                                                       v
Case
Case3:21-cv-12057-ZNQ-TJB
     3:21-cv-12057-ZNQ-TJB Document
                           Document31-1
                                    23-1 Filed
                                         Filed08/31/21
                                               07/09/21 Page
                                                        Page77of
                                                               of34
                                                                  34PageID:
                                                                    PageID:145
                                                                            92



 Prof’l Orthopedic Associates, PA v. Excellus Blue Cross Blue Shield,
    No. 14-6950, 2015 U.S. Dist. LEXIS 91815, 2015 WL 4387981 (D.N.J. July
    15, 2015) ..................................................................................................................................11

 Profiles, Inc. v. Bank of Am. Corp.,
    453 F. Supp. 3d 742 (D. Md. 2020) .......................................................................................6, 8

 Schweikert v. Baxter Healthcare Corp.,
    No. 12-5876, 2015 U.S. Dist. LEXIS 98627 (D.N.J. July 29, 2015).......................................22

 Shehan v. U.S. Dep’t of Just.,
    No. 1:20-CV-00500, 2020 WL 7711635 (S.D. Ohio Dec. 29, 2020) ........................................8

 Sleep Tight Diagnostic Ctr., L.L.C. v. Aetna Inc.,
     399 F. Supp. 3d 241 (D.N.J. 2019) ..........................................................................................15

 Small v. Oxford Health Ins., Inc.,
    No. 18-13120 (JLL), 2019 U.S. Dist. LEXIS 27878 (D.N.J. Feb. 21, 2019) ............................4

 Somerset Orthopedic Assocs., P.A. v. Aetna, Inc.,
    Civ. No. 19-12544, 2019 U.S. Dist. LEXIS 185160 (D.N.J. Oct. 21, 2019) ...........................21

 Thieme v. Aucoin-Thieme,
    151 A.3d 545 (N.J. 2016).........................................................................................................17

 Transamerica Mortg. Advisors, Inc. v. Lewis,
    444 U.S. 11 (1979) .....................................................................................................................7

 United States v. Bestfoods,
    524 U.S. 51 (1998) ...................................................................................................................25

 Univ. Spine Ctr. v. Aetna, Inc.,
    774 F. App’x 60 (3d Cir. 2019) ...............................................................................................10

 Wisniewski v. Rodale, Inc.,
    510 F.3d 294 (3d Cir. 2007).......................................................................................................7

 Woodlands Cmty. Ass’n, Inc. v. Mitchell,
   162 A.3d 306 (N.J. Super. Ct. App. Div. 2017).......................................................................16

 Zhejiang Rongyao Chem. Co., Ltd. v. Pfizer Inc.,
    No. 11-5744 (PGS), 2012 U.S. Dist. LEXIS 137136 (D.N.J. Sept. 21, 2012) ........................23

 Statutes

 29 U.S.C. § 216 ................................................................................................................................7

 29 U.S.C. § 1132 ............................................................................................................................10

 29 U.S.C. § 1144(a) .................................................................................................................11, 14
                                                                        vi
Case
Case3:21-cv-12057-ZNQ-TJB
     3:21-cv-12057-ZNQ-TJB Document
                           Document31-1
                                    23-1 Filed
                                         Filed08/31/21
                                               07/09/21 Page
                                                        Page88of
                                                               of34
                                                                  34PageID:
                                                                    PageID:146
                                                                            93



 29 U.S.C. § 1144(c)(1) ...................................................................................................................11

 CARES Act ............................................................................................................................ passim

 ERISA .................................................................................................................................... passim

 FFCRA ................................................................................................................................... passim

 HCAPPA ................................................................................................................................ passim

 HINT Act ............................................................................................................................... passim

 N.J. Stat. Ann. § 17B:26-9.1 ..................................................................................................8, 9, 23

 N.J. Stat. Ann. § 17B:27-44.2 ........................................................................................................23

 N.J. Stat. Ann. § 56:8-109..............................................................................................................15




                                                                       vii
Case
Case3:21-cv-12057-ZNQ-TJB
     3:21-cv-12057-ZNQ-TJB Document
                           Document31-1
                                    23-1 Filed
                                         Filed08/31/21
                                               07/09/21 Page
                                                        Page99of
                                                               of34
                                                                  34PageID:
                                                                    PageID:147
                                                                            94



                                  PRELIMINARY STATEMENT

        Like much of the rest of the healthcare industry, Defendants United HealthCare Services,

 Inc. and Oxford Health Plans, Inc. (collectively, “United”)1 have worked relentlessly to provide

 care and services during a global health crisis unprecedented in scale. At its core, the Complaint

 tells the tale of how Genesis Laboratory Management, LLC (“Genesis”) capitalized on that crisis

 by doubling the price of COVID-19 diagnostic tests at its height—unilaterally setting its charge

 for COVID-19 tests to more than five times what Medicare paid for the same test. By comparison,

 Quest Diagnostics—one of the largest clinical laboratory testing companies in the country—

 charges only $128.30, an amount almost identical to the Medicare rate.2

        Genesis’s brazenness even caught the eye of the New York Times, which ran an article

 exposing the lab’s practices entitled “Two Friends in Texas Were Tested For Coronavirus. One

 Bill Was For $199. The Other? $6,408.”3 While Genesis attempts to argue that Congress

 somehow permitted its extravagant charges under the Families First Coronavirus Response Act

 (“FFCRA”) and the Coronavirus Aid, Relief, and Economic Security (“CARES”) Act, it could not

 be more wrong. Not only is there no private right of action under those statutes, but nothing in

 them requires United to resign itself to price-gouging of critical health care services during a




 1
   UnitedHealth Group Incorporated (“UHG”) is named as a defendant solely because, according
 to the Complaint, it owns its co-defendants and is a profitable corporation. See Compl. ¶¶ 2–4, 9.
 That is insufficient, and UHG should be dismissed from this lawsuit for the reasons set forth in
 Section IV. below.
 2
  See https://www.questdiagnostics.com/home/Covid-19/Pricing/. The Court may take “judicial
 notice of the website as it constitutes a public record, which the Court may consider even at the
 motion to dismiss stage.” Estate of Patterson v. City of Pittsburgh, Civil Action No. 11-1021,
 2011 U.S. Dist. LEXIS 118344, at *3 n.2 (W.D. Pa. 2011) (citations omitted).
 3
   The Court may take judicial notice of news articles where their “publication is ‘not subject to
 reasonable dispute in that it is . . . capable of accurate and ready determination by resort to sources
 whose accuracy cannot be questioned.’” Benak v. Alliance Capital Mgmt. L.P., 435 F.3d 396, 401
 n.15 (3d Cir. 2006) (quoting Fed. R. Evid. 201(b)(2)).

                                                   1
Case
Case3:21-cv-12057-ZNQ-TJB
     3:21-cv-12057-ZNQ-TJB Document
                           Document31-1
                                    23-1 Filed
                                         Filed08/31/21
                                               07/09/21 Page
                                                        Page10
                                                             10of
                                                               of34
                                                                  34PageID:
                                                                    PageID:148
                                                                            95



  national health emergency by opportunistic providers, let alone a provider that is suspected of

  improper billing practices.

         Even taking the facts Genesis alleges as true for purposes of this motion, the Complaint

  wholly fails to state a claim for relief against United. Whatever Genesis’s complaints about

  United’s reimbursement process may be, Genesis is not the arbiter of compliance with the FFCRA

  and the CARES Act’s provisions—Congress expressly delegated that responsibility to the

  Secretaries of Health and Human Services, the Labor Department, and the Department of the

  Treasury, so neither statute creates a private right of action. Nor does the New Jersey Healthcare

  Information Networks and Technologies (“HINT”) Act or the Health Claims Authorization,

  Processing and Payment Act (“HCAPPA”), whose “detailed and specific arbitration

  mechanism . . . firmly establishes that a private right of action is unnecessary to accomplish the

  statute[s’] purposes.” MHA, LLC v. Amerigroup Corp., Civ. No. 18-16042 (KM) (JSA), 2021 U.S.

  Dist. LEXIS 94147, at *15–16 (D.N.J. May 17, 2021). The remainder of Genesis’s state law

  claims fail for other independent reasons: (1) they are preempted by the Employee Retirement

  Income Security Act of 1974, as amended (“ERISA”); (2) Genesis lacks standing to sue under

  ERISA for its failure to allege a valid assignment of benefits; and (3) they fail to state a claim for

  relief against United.

         The Complaint should be dismissed in its entirety.

                                    FACTUAL BACKGROUND

         Genesis is a molecular diagnostic and anatomic pathology laboratory offering various

  testing services. See Compl. ¶ 13. United issues and administers insurance contracts and health

  benefit plans, including to insureds, plan members, and beneficiaries. See id. ¶ 15. Genesis is a

  non-participating—or out-of-network—provider of services in that it does not have a contract with

  United for the services provided to United members or beneficiaries. See id. ¶ 16.

                                                    2
Case
Case3:21-cv-12057-ZNQ-TJB
     3:21-cv-12057-ZNQ-TJB Document
                           Document31-1
                                    23-1 Filed
                                         Filed08/31/21
                                               07/09/21 Page
                                                        Page11
                                                             11of
                                                               of34
                                                                  34PageID:
                                                                    PageID:149
                                                                            96



           According to the Complaint, from the start of the COVID-19 pandemic, Genesis has

  offered COVID-19 in vitro diagnostic testing for the detection of the virus that causes COVID-19.

  See id. ¶ 17. Genesis also later offered COVID-19 antibody testing. See id. Genesis alleges that,

  in total, from the start of the pandemic through the present, it has provided COVID-19-related

  testing services to over 51,000 patients who are members or beneficiaries of United’s health plan.

  See id. United paid the majority of claims for COVID-19 diagnostic testing and related testing

  that Genesis submitted for payment at the outset of the pandemic in March, April, and May 2020.

  See id. ¶ 33. At first, Genesis charged $256.65 for the COVID-19 tests it offered to United’s

  members. Id. ¶ 26. Genesis acknowledges that United paid those charges, even though they

  amounted to more than five times what Medicare charged for the very same test. See id. ¶¶ 26,

  33. In mid-April 2020, with the pandemic raging, Genesis admits it unilaterally doubled its price

  for those tests to $513.00. Id. ¶ 26. Then, the New York Times exposé appeared two months later,

  shining a light on Genesis’s pricing scheme and heightening concerns that it was improperly billing

  United for unnecessary services. Around that time, United began sending requests for Genesis to

  provide information regarding the tests it allegedly performed beginning in March 2020 in an effort

  to confirm whether those services were in fact rendered. See ¶¶ 33-34.

           Genesis takes umbrage at having to provide the requested information to United based on

  United’s justifiable suspicion about the veracity of Genesis’s claim submissions, alleging that

  “United has denied payment for a series of claims and is refusing to pay unless Genesis produces

  clinical and operational documentation within 30 days of United’s request.” Id. ¶ 35. Genesis

  seeks payment from United for these claims—demanding an amount in excess of $20 million,4

  reflecting a cash price that it unilaterally doubled to five times the Medicare rate—even though it



  4
      See Ex. A to Compl.

                                                  3
Case
Case3:21-cv-12057-ZNQ-TJB
     3:21-cv-12057-ZNQ-TJB Document
                           Document31-1
                                    23-1 Filed
                                         Filed08/31/21
                                               07/09/21 Page
                                                        Page12
                                                             12of
                                                               of34
                                                                  34PageID:
                                                                    PageID:150
                                                                            97



  has refused to provide the requested documentation confirming that it actually rendered the

  services for which it demands payment. See id. ¶ 11. It also seeks payment for certain other, non-

  COVID related claims for which it has failed to provide information to United. Id. ¶ 12.




                                                  4
Case
Case3:21-cv-12057-ZNQ-TJB
     3:21-cv-12057-ZNQ-TJB Document
                           Document31-1
                                    23-1 Filed
                                         Filed08/31/21
                                               07/09/21 Page
                                                        Page13
                                                             13of
                                                               of34
                                                                  34PageID:
                                                                    PageID:151
                                                                            98



                                         LEGAL STANDARD

         To survive a motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient

  factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft

  v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

  The complaint must “raise a right to relief above the speculative level,” and a formulaic recitation

  of the elements of a cause of action, labels, and mere legal conclusions will not suffice to state a

  valid claim for relief. Twombly, 550 U.S. at 558. Rather, “a claim has facial plausibility when the

  plaintiff pleads factual content that allows the court to draw the reasonable inference that the

  defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S.

  at 556). The plausibility standard requires “more than a sheer possibility that a defendant has acted

  unlawfully.” Id. (quoting Twombly, 550 U.S. at 556).

         To determine the sufficiency of a complaint under Twombly and Iqbal in the Third Circuit,

  the Court must: (1) “tak[e] note of the elements [the] plaintiff must plead to state a claim”;

  (2) “identify allegations that, because they are no more than conclusions, are not entitled to the

  assumption of truth”; and (3) “[w]hen there are well-pleaded factual allegations, [the] court should

  assume their veracity and then determine whether they plausibly give rise to an entitlement to

  relief.” Connelly v. Lane Constr. Corp., 809 F.3d 780, 787 (3d Cir. 2016) (internal quotations and

  citations omitted); see also Small v. Oxford Health Ins., Inc., No. 18-13120 (JLL), 2019 U.S. Dist.

  LEXIS 27878, at *5-6 (D.N.J. Feb. 21, 2019).




                                                    5
Case
Case3:21-cv-12057-ZNQ-TJB
     3:21-cv-12057-ZNQ-TJB Document
                           Document31-1
                                    23-1 Filed
                                         Filed08/31/21
                                               07/09/21 Page
                                                        Page14
                                                             14of
                                                               of34
                                                                  34PageID:
                                                                    PageID:152
                                                                            99



                                              ARGUMENT

  I.     COUNT I AND COUNT VI FAIL AS A MATTER OF LAW BECAUSE THERE IS
         NO PRIVATE RIGHT OF ACTION UNDER THE FFCRA, THE CARES ACT,
         THE HINT ACT, OR HCAPPA

         Counts I and VI fail at the threshold because, despite Genesis’s attempts to invoke the

  FFCRA, the CARES Act, the HINT Act, and HCAPPA to justify charging exorbitant rates for

  critical health care services during a pandemic, it has no private right of action under those statutes.

         A.       There Is No Private Right Of Action Under The FFCRA Or The CARES
                  Act.

         Congress enacted the FFCRA, a broad-ranging piece of legislation designed to provide

  varying forms of immediate relief to Americans during the COVID-19 pandemic, on March 18,

  2020. Section 6001(a) of the FFCRA provides that a health insurer shall provide coverage for in-

  vitro diagnostic products and services relating to the diagnosis of COVID-19. See FFCRA, Pub.

  L. 116-127. Relatedly, Section 3202(a) of the CARES Act provides that “a group health plan or a

  health insurance issuer providing coverage of items and services” described in Section 6001(a) of

  the FFCRA shall reimburse the provider of the diagnostic testing in the following manner:

                  (2) If the health plan or issuer does not have a negotiated rate with
                  such provider [of the diagnostic testing], such plan or issuer shall
                  reimburse the provider in an amount that equals the cash price for
                  such service as listed by the provider on a public internet website,
                  or such plan or issuer may negotiate a rate with such provider for
                  less than such cash price.

  CARES Act, Pub. L. 116-136. Critically, and fatal to Genesis’s Count I here, neither the FFCRA

  nor the CARES Act creates a private right of action. Instead, Congress entrusted enforcement

  responsibility to impartial federal agencies, not to providers like Genesis that may be tempted to

  invoke those statutes as cover for their desire to profit improperly from a national health

  emergency.




                                                     6
Case 3:21-cv-12057-ZNQ-TJB Document 31-1
                                    23-1 Filed 08/31/21
                                               07/09/21 Page 15 of 34 PageID: 153
                                                                              100



                 1.      No express private right of action.

         “[P]rivate rights of action to enforce federal law must be created by Congress.” Alexander

  v. Sandoval, 532 U.S. 275, 286 (2001). The Complaint fails to identify language supporting a

  private enforcement right under either statute for healthcare providers like Genesis because there

  isn’t any. Indeed, Section 6002 of the FFCRA explicitly states that “the provisions of subsection

  (a) shall be applied by the Secretary of Health and Human Services, Secretary of Labor, and

  Secretary of the Treasury[.]” FFCRA, Pub. L. 116-127. The only enforcement provision relating

  to this aspect of the CARES Act is located in Section 3202(b). It states that the Secretary of Health

  and Human Services may impose a civil monetary penalty on any provider who fails to post the

  cash price for SARS-CoV-2 testing on its public website. See CARES Act, Pub. L. 116-136.

         Courts across the country have uniformly dismissed attempts to assert a non-existent

  private cause of action based on the CARES Act. See, e.g., Matava v. CTPPS, LLC, No. 3:20-CV-

  01709, 2020 WL 6784263, at *1 (D. Conn. Nov. 18, 2020) (CARES Act does not expressly provide

  a private right of action to enforce its provisions and the court will not imply one); Johnson v.

  JPMorgan Chase Bank, N.A., 488 F. Supp. 3d 144, 157 (S.D.N.Y. 2020) (CARES Act does not

  contain an express cause of action to enforce the Payroll Protection Program loan program);

  Profiles, Inc. v. Bank of Am. Corp., 453 F. Supp. 3d 742, 748 (D. Md. 2020) (stating that “the

  CARES Act does not expressly provide a private right of action”). This Court should reach the

  same result here.

                 2.      No implied private right of action.

         A court may not infer a private right of action “unless Congress speak[s] with a clear voice,

  and manifests an unambiguous intent to confer individual rights[.]” Gonzaga Univ. v. Doe, 536

  U.S. 273, 280 (2002) (quotation marks omitted). If Congress is silent or ambiguous, courts may

  not find a cause of action “no matter how desirable that might be as a policy matter.” Sandoval,

                                                   7
Case 3:21-cv-12057-ZNQ-TJB Document 31-1
                                    23-1 Filed 08/31/21
                                               07/09/21 Page 16 of 34 PageID: 154
                                                                              101



  532 U.S. at 286–87. An implied private right of action is nonexistent under the FFCRA and the

  CARES Act for multiple reasons.

         First, the FFCRA and the CARES Act’s delegation of enforcement authority to various

  federal agencies underscores the absence of an implied right of action. As the Supreme Court has

  determined, “[t]he express provision of one method of enforcing a substantive rule suggests that

  Congress intended to preclude others.” Sandoval, 532 U.S. at 290. And where, as here, Congress

  explicitly delegates enforcement authority to a federal agency, there is “a strong presumption

  against implied private rights of action . . . .” Wisniewski v. Rodale, Inc., 510 F.3d 294, 305 (3d

  Cir. 2007).5 The Complaint makes no effort to overcome that presumption.

         Second, weighing against finding an implied right of action under the FFCRA with regard

  to coverage of testing for COVID-19 is the statute’s express grant of a private right of action

  against unlawful termination under the Fair Labor Standards Act.6 It is axiomatic that “when

  Congress wishe[s] to provide a private damages remedy, it kn[ows] how to do so and d[oes] so

  expressly.” Transamerica Mortg. Advisors, Inc. v. Lewis, 444 U.S. 11, 21 (1979) (invoking




  5
    See also In re Pennsylvania, No. 13-CV-1871, 2013 WL 4193960, at *13 (E.D. Pa. Aug. 15,
  2013) (“[W]hen a statute explicitly delegates authority to a federal agency to enforce its law, there
  is a ‘strong presumption against implied private rights of action.’”); Malecki v. Christopher, No.
  4:CV-07-1829, 2008 WL 11496499, at *9 (M.D. Pa. Mar. 20, 2008) (“The sole reference to
  enforcement of [statutory provision] by the United States Attorney General, along with the absence
  of other enforcement provisions, creates a presumption that Attorney General’s enforcement of
  this statute is exclusive.”).
  6
    See, e.g., FFCRA, Pub. L. 116-127, at § 5105(b)(2) (“An employer who willfully violates section
  5104 shall . . . be subject to the penalties described in sections 16 and 17 of [the Fair Labor
  Standards Act] (29 U.S.C. §§ 216; 217) with respect to such violation.”); 29 U.S.C. § 216 (“An
  action to recover the liability prescribed in the preceding sentences may be maintained against any
  employer (including a public agency) in any Federal or State court of competent jurisdiction by
  any one or more employees for and in behalf of himself or themselves and other employees
  similarly situated.”); Kofler v. Sayde Steeves Cleaning Serv., Inc., No. 8:20-CV-1460-T-33AEP,
  2020 WL 5016902, at *2 (M.D. Fla. Aug. 25, 2020).

                                                   8
Case 3:21-cv-12057-ZNQ-TJB Document 31-1
                                    23-1 Filed 08/31/21
                                               07/09/21 Page 17 of 34 PageID: 155
                                                                              102



  expressio unius doctrine to deny implied private right of action under section 206 of the Investment

  Advisors Act of 1940).

          Finally, honoring Congress’s intent, courts across the country have uniformly declined to

  find an implied right of action under the CARES Act. See, e.g., Am. Video Duplicating, Inc. v.

  City Nat’l Bank, No. 2:20-CV-04036, 2020 WL 6882735, at *5 (C.D. Cal. Nov. 20, 2020)

  (“Unsurprisingly, every court to address whether the CARES Act created an implied private right

  of action has held that it does not.”); Profiles, Inc., 453 F. Supp. 3d at 751 (the court was “not

  persuaded that the language of the CARES Act evidences the requisite congressional intent to

  create a private right of action,” noting that “an expansive approach to implied rights of action

  ‘cannot be squared with the doctrine of the separation of powers’”); Matava, 2020 WL 6784263,

  at *1 (after finding the CARES Act does not expressly provide a private right of action, the court

  concluded that the complaint did not set forth “sufficient (or any) analysis as to why . . . the [c]ourt

  should find an implied private right of action”); Shehan v. U.S. Dep’t of Just., No. 1:20-CV-00500,

  2020 WL 7711635, at *11 (S.D. Ohio Dec. 29, 2020) (“[T]his Court is aware of no decision finding

  that the CARES Act creates any implied private right of action.”).

          There is no private right of action under the FFCRA or the CARES Act. As a result, Count

  I of the Complaint fails and should be dismissed.

          B.      There Is No Private Right Of Action Under The HINT Act Or HCAPPA.

          Count VI similarly fails because neither the HINT Act nor HCAPPA creates a private right

  of action. New Jersey’s HINT Act “establishes timetables for health insurers to pay healthcare

  providers and imposes interest rates for late payments.” MHA, LLC, 2021 U.S. Dist. LEXIS

  94147, at *12 (citing N.J. Stat. Ann. § 17B:26-9.1). In 2006, the New Jersey Legislature amended

  the HINT Act when it enacted HCAPPA. In particular, “HCAPPA amended the HINT Act’s

  prompt-payment provision to provide that (1) insurers must establish an internal appeals process

                                                     9
Case 3:21-cv-12057-ZNQ-TJB Document 31-1
                                    23-1 Filed 08/31/21
                                               07/09/21 Page 18 of 34 PageID: 156
                                                                              103



  to resolve disputes with providers, (2) if an appeal is resolved in favor of the provider, the insurer

  must pay the provider with interest, (3) if an appeal is resolved in favor of the insurer, the provider

  may seek arbitration, (4) the arbitrator can order the insurer to make payment with interest, and (5)

  the arbitrator’s decision is binding and final.” Id. at *15 (citing HCAPPA § 13, codified at N.J.

  Stat. Ann. § 17B:26-9.1(e)(1)).

         In determining whether the HINT Act, as amended by HCAPPA, provides for a private

  right of action, Judge McNulty recently concluded that “HCAPPA is dispositive in the private-

  right-of-action analysis . . . [because] the Legislature’s creation of a detailed and specific

  arbitration mechanism clarifies its intention that disputes be resolved by arbitration, not litigation,

  and firmly establishes that a private right of action is unnecessary to accomplish the statute’s

  purposes.” Id. at *15-16. In MHA, the Court “decline[d] to imply a private right of action to seek

  damages under the HINT Act,” and granted the insurer’s motion to dismiss that claim. Id. at *18.

  This Court should do the same here.

  II.    COUNTS II THROUGH VI FAIL BECAUSE THEY ARE PREEMPTED BY ERISA

         A.      Relief To Genesis Must Come, If At All, Through ERISA’s Exclusive
                 Enforcement Scheme.

         The Complaint also fails because Genesis cannot sidestep ERISA’s exclusive enforcement

  scheme by invoking various federal statutes and state law claims. The Supreme Court has held

  time and again that ERISA’s “carefully integrated civil enforcement provisions,” Mass. Mut. Life

  Ins. Co. v. Russell, 473 U.S. 134, 146 (1985), “were intended to be exclusive,” Pilot Life Ins. Co.

  v. Dedeaux, 481 U.S. 41, 54 (1987). Although Genesis attempts to assert various state law claims

  against United, these claims fail because its exclusive remedy—were one to exist at all—must be

  brought under ERISA. Indeed, and as discussed in further detail below, Genesis’s claims, though

  couched in terms of contract, are aimed at recovering ERISA-governed benefits (i.e.,

  reimbursement from an ERISA plan) and must be brought through ERISA’s exclusive remedial
                                                    10
Case 3:21-cv-12057-ZNQ-TJB Document 31-1
                                    23-1 Filed 08/31/21
                                               07/09/21 Page 19 of 34 PageID: 157
                                                                              104



  scheme set forth at 29 U.S.C. § 1132.7 See Aetna Health Inc. v. Davila, 542 U.S. 200, 209 (2004)

  (“[A]ny state-law cause of action that duplicates, supplements, or supplants the ERISA civil

  enforcement remedy conflicts with the clear congressional intent to make the ERISA remedy

  exclusive and is therefore pre-empted.”).

         It is well-settled that a healthcare provider, like Genesis, has standing to file suit under

  ERISA if it has obtained a valid assignment of benefits. See, e.g., Univ. Spine Ctr. v. Aetna, Inc.,

  774 F. App’x 60, 65 (3d Cir. 2019) (“A healthcare provider is neither a ‘participant’ nor a

  ‘beneficiary’ for purposes of ERISA, but it may acquire standing to file suit under 29 U.S.C.

  § 1132(a)(1)(B) if it obtains ‘a valid assignment of benefits by a plan participant or beneficiary.’”)

  (quoting Am. Orthopedic & Sports Med. v. Indep. Blue Cross Blue Shield, 890 F.3d 445, 449 (3d

  Cir. 2018)). Of course, Genesis does not assert any claims under ERISA, and it is silent about any

  such assignments in the Complaint. But the law does not permit Genesis to make an end run

  around ERISA’s comprehensive enforcement scheme by turning a blind eye to its existence, and

  it cannot avoid ERISA preemption by artful pleading:

                 Plaintiff pleads no facts to establish that a valid assignment
                 occurred. Thus, Plaintiff cannot bring any ERISA claims for
                 reimbursement, as it lacks standing to do so. See Cohen v. Horizon
                 Blue Cross Blue Shield of New Jersey, No. CV154525, 2015 U.S.
                 Dist. LEXIS 140344, 2015 WL 6082299, at *3 (D.N.J. Oct. 15,
                 2015) (dismissing complaint at motion to dismiss stage in absence
                 of allegations of assignment in the complaint); see also Prof’l
                 Orthopedic Associates, PA v. Excellus Blue Cross Blue Shield, No.
                 14-6950, 2015 U.S. Dist. LEXIS 91815, 2015 WL 4387981, at *5
                 (D.N.J. July 15, 2015) (same). In that regard, since it appears to have
                 intentionally elected not to assert an assignment of benefits, Plaintiff
                 will also not be given leave to file an amended complaint.




  7
   United notes that, inasmuch as the relief Genesis seeks involves claims that are associated with
  non-ERISA plans, Genesis still fails to state a claim for relief against United for the reasons
  outlined in Sections I. and III.

                                                   11
Case 3:21-cv-12057-ZNQ-TJB Document 31-1
                                    23-1 Filed 08/31/21
                                               07/09/21 Page 20 of 34 PageID: 158
                                                                              105



  Atl. Shore Surgical Assocs. v. Horizon Blue Cross Blue Shield of N.J., No. 17-cv-07534 (FLW)

  (DEA), 2018 U.S. Dist. LEXIS 90734, at *20 (D.N.J. May 31, 2018). This Court should dismiss

  Counts II through VI accordingly.

         B.      ERISA Broadly Preempts State Law Claims That “Relate To” An Employee
                 Benefit Plan Governed By ERISA.

         “The purpose of ERISA is to provide a uniform regulatory regime over employee benefit

  plans.” Aetna Health Inc. v. Davila, 542 U.S. 200, 208 (2004). To achieve that goal, ERISA

  contains “expansive pre-emption provisions,” which operate to maintain the regulation of benefit

  plans in the federal domain. Id. (citations omitted). The ultimate objective of federal ERISA

  preemption is to “eliminate the threat of conflicting and inconsistent State and local regulation.”

  N.Y. State Conf. of Blue Cross & Blue Shield Plans v. Travelers Ins. Co., 514 U.S. 645, 657 (1995).

         ERISA’s express preemption provision is set forth in ERISA § 514(a), which preempts

  “any and all State laws insofar as they . . . relate to any employee benefit plan” covered under the

  statute. 29 U.S.C. § 1144(a). State laws “relate to” an ERISA plan for purposes of preemption if

  the law either has a “reference to” or has a “connection with” the plan at issue. See Plastic Surgery

  Ctr., P.A. v. Aetna Life Ins. Co., 967 F.3d 218, 241 (3d Cir. 2020); Ingersoll-Rand Co. v.

  McClendon, 498 U.S. 133, 138 (1990). “The scope of ‘[s]tate laws’ that may ‘relate to’ a plan is

  expansive, encompassing “all laws, decisions, rules, regulations, or other State action having the

  effect of law, of any State.” Plastic Surgery Ctr., 967 F.3d at 226 (citing 29 U.S.C. § 1144(c)(1)).

  That includes state common law causes of action. Id.; see also Nat’l Sec. Sys., Inc. v. Iola, 700

  F.3d 65, 83-84 (3d Cir. 2012) (“State common law claims fall within this definition and, therefore,

  are subject to ERISA preemption.”).

         As to the first definition, a state law claim makes an impermissible “reference to” an ERISA

  plan when (1) “the existence of an ERISA plan [is] a critical factor in establishing liability,”

  Ingersoll-Rand, 498 U.S. at 139-40; or (2) the court’s examination will “require interpreting the
                                                   12
Case 3:21-cv-12057-ZNQ-TJB Document 31-1
                                    23-1 Filed 08/31/21
                                               07/09/21 Page 21 of 34 PageID: 159
                                                                              106



  plan’s terms.” Menkes v. Prudential Ins. Co. of Am., 762 F.3d 285, 294 (3d Cir. 2014); 1975

  Salaried Ret. Plan for Eligible Emps. of Crucible, Inc. v. Nobers, 968 F.2d 401, 406 (3d Cir. 1992)

  (citations omitted). As to the second definition, the Third Circuit has explained that a state law

  claim has a “connection with” an insurance benefits plan when (1) the claim “directly affect[s] the

  relationship among the traditional ERISA entities—the employer, the plan and its fiduciaries, and

  the participants and beneficiaries,” see Plastic Surgery Ctr., 967 F.3d at 235 (citations omitted);

  (2) “interfere[s] with plan administration,” Menkes, 762 F.3d at 295-96; or (3) “undercut[s]

  ERISA’s stated purpose[,]” Iola, 700 F.3d at 84-85; Kollman v. Hewitt Assocs., LLC, 487 F.3d

  139, 149 (3d Cir. 2007).

         C.      Genesis’s Contract Claims (Counts II and III) And Estoppel Claim (Count
                 V) Are Preempted.8

         Genesis seeks reimbursement from United based on an alleged implied contract. Genesis’s

  reliance on an alleged implied contract is not surprising, but nevertheless unfounded as a matter of

  law. Under Plastic Surgery Center, a medical provider can pursue a contract claim against an

  insurer and sidestep ERISA preemption if the provider alleges a separate, standalone agreement

  with the insurer. 967 F.3d at 231-233. As discussed in Section III.A below, Genesis falls far short

  of alleging the existence of a valid and enforceable implied contract with United, let alone an

  implied contract requiring United to pay for COVID-19 diagnostic tests at a price five times the

  amount Medicare paid.

         Because Genesis fails to allege a separate, standalone contract with United, it must look to

  the terms of the ERISA-governed benefit plan as the basis for United’s payment obligation.


  8
   Genesis’s Count VI, for violations of New Jersey’s HINT Act and HCAPPA, is also preempted.
  See, e.g., N. Jersey Brain & Spine Ctr. v. CIGNA Healthcare of N.J., No. 09-2630, 2010 U.S. Dist.
  LEXIS 152435, at *12 (D.N.J. Jan. 12, 2010) (denying motion to remand in part because the
  plaintiff’s claim for violations of the HINT Act and HCAPPA were completely preempted), report
  and recommendation adopted, 2010 U.S. Dist. LEXIS 152436 (D.N.J. Mar. 5, 2010).

                                                  13
Case 3:21-cv-12057-ZNQ-TJB Document 31-1
                                    23-1 Filed 08/31/21
                                               07/09/21 Page 22 of 34 PageID: 160
                                                                              107



  Indeed, Genesis’s own allegations make clear that United’s alleged payment obligation stems from

  its members’ ERISA plan:

             •   “At issue in this dispute is United’s failure to pay approximately 51,000 clean
                 claims for COVID-19 diagnostic testing that Genesis provided and continues to
                 provide to United members and beneficiaries. In addition to failing to reimburse
                 Genesis for providing covered COVID testing services, . . . . Compl. ¶ 11
                 (emphasis added).

             •   “United is required to make benefit payments from its own assets (for fully insured
                 plans) or the assets of the relevant plan (for self-funded plans) when an individual
                 covered by one of the plans obtains healthcare services covered by the plan.” Id.
                 ¶ 15 (emphasis added).

             •   “Genesis submits claims for reimbursement of the testing services to United,
                 including COVID-19 diagnostic testing and related testing, provided to United’s
                 members.” Id. ¶ 16 (emphasis added).

             •   “Genesis had every expectation that United would honor its obligations and
                 reimburse Genesis for the COVID-19-related testing services provided to United’s
                 members and beneficiaries.” Id. ¶ 20 (emphasis added).

             •   “Genesis has been, and continues to be, harmed by United’s failure to pay valid
                 claims that Genesis submitted to United for reimbursement for services to United’s
                 members and beneficiaries.” Id. (emphasis added).

  This makes sense because, without the ERISA plan, there would be no relationship between United

  and its insureds. In other words, the only reason Genesis can claim that United must pay for

  services provided to United’s insureds is because they are insured by United through their

  ERISA-governed plans. And United’s obligation to pay for services provided to its insureds flows

  from its members’ ERISA plans. Accordingly, “the existence of [an ERISA] plan is a critical

  factor in establishing liability” for Genesis’s claims, and the Court’s examination of that issue will

  “require interpreting the plan’s terms.” Plastic Surgery Center, 967 F.3d at 230.

         Genesis’s allegations stand in stark contrast to the provider’s allegations in Plastic Surgery

  Center, illustrating precisely why the preemption doctrine applies here but did not there. Id. at

  241. In Plastic Surgery Center, the provider alleged that the services it rendered to the patients

  were not covered under the patients’ benefit plans. Id. at 223-24. For this reason, the provider
                                                   14
Case 3:21-cv-12057-ZNQ-TJB Document 31-1
                                    23-1 Filed 08/31/21
                                               07/09/21 Page 23 of 34 PageID: 161
                                                                              108



  allegedly called Aetna before rendering services to secure an agreement from Aetna to pay for the

  services. Id. at 224. The provider alleged that, during these pre-service phone conversations with

  Aetna employees, the provider identified the precise services to be rendered, and Aetna expressly

  promised to reimburse the provider for those services at the “highest in-network level.” Id. at 232.

         By contrast, Genesis alleges that it provided covered services to United’s members. See,

  e.g., Compl. ¶ 11. Thus, United’s obligations are to comply with the terms of the applicable benefit

  plans to which the members belong. Genesis has not sufficiently alleged a separate agreement or

  promise to pay, nor can it. This fatal defect in Genesis’s attempt to evade ERISA preemption can

  be resolved as a matter of law based on the pleadings. Genesis’s contract and promissory estoppel

  claims are preempted under ERISA § 514 and must be dismissed. See, e.g., Sleep Tight Diagnostic

  Ctr., L.L.C. v. Aetna Inc., 399 F. Supp. 3d 241, 252 (D.N.J. 2019) (dismissing provider’s contract,

  promissory estoppel, and negligent misrepresentation claims as preempted under ERISA § 514

  where provider failed to allege a “separately executed agreement” with the insurer); Atl. Shore

  Surgical Assocs., 2018 U.S. Dist. LEXIS 90734, at *15 (provider’s state law claims, including

  breach of contract and promissory estoppel, were preempted by ERISA where provider failed to

  allege any separate agreement regarding a “reimbursement rate or any other provision dictating

  payment terms”).

         D.      Genesis’s Unjust Enrichment & Quantum Meruit Claims (Count IV) Are
                 Preempted.

         That Genesis would claim that United has been unjustly enriched under these

  circumstances is ironic given the pricing-gouging scheme Genesis details in its own Complaint.9

  In any case, the Third Circuit’s recent decision in Plastic Surgery Center confirms that Genesis’s




  9
    See N.J. Stat. Ann. § 56:8-109 (prohibiting the sale of merchandise, including services, at an
  “excessive price” (defined as more than 10 percent) during a declared state of emergency).

                                                  15
Case 3:21-cv-12057-ZNQ-TJB Document 31-1
                                    23-1 Filed 08/31/21
                                               07/09/21 Page 24 of 34 PageID: 162
                                                                              109



  unjust enrichment and quantum meruit claims are preempted by ERISA. 967 F.3d at 230. As an

  initial matter, a plaintiff asserting a claim for unjust enrichment must demonstrate that the

  defendant “received a benefit and that retention of that benefit without payment would be unjust.”10

  Id. at 240 (citing Thieme v. Aucoin-Thieme, 151 A.3d 545, 557 (N.J. 2016)). In Plastic Surgery

  Center, the Third Circuit held that “where a healthcare provider claims unjust enrichment against

  an insurer, the benefit conferred, if any, is not the provision of the healthcare services per se, but

  rather the discharge of the obligation the insurer owes to its insured.” Id. at 240. That obligation,

  the court explained, “is none other than the insurer’s duty to its insured under the terms of the

  ERISA plan.” Id. at 241 (emphasis in original). As a result, claims for unjust enrichment and

  quantum meruit in the provider-insurer context are preempted by ERISA because those claims are

  premised on the existence of an ERISA plan. See id. at 240-41 (holding medical provider’s unjust

  enrichment claim against insurer preempted by ERISA); Medwell, LLC, 2021 U.S. Dist. LEXIS

  96292, at *21-23 (relying on Plastic Surgery Center and holding medical provider’s unjust

  enrichment and quantum meruit claims against insurer preempted by ERISA).

         Genesis’s unjust enrichment and quantum meruit claims depend on its allegation that it

  conferred the benefit of discharging United’s obligations to its insureds.         See Compl. ¶ 70.

  Because those obligations arise under ERISA, Genesis’s unjust enrichment and quantum meruit

  claims are preempted. Plastic Surgery Ctr., 967 F.3d at 240-21; Medwell, LLC, 2021 U.S. Dist.

  LEXIS 96292, at *21. To be sure, while Genesis also claims that United “benefitted from the


  10
    New Jersey courts treat unjust enrichment and quantum meruit as “parallel” and “generally have
  held that quantum meruit requires a benefit conferred, even if that benefit may take the form of
  services.” Medwell, LLC, 2021 U.S. Dist. LEXIS 96292, at *21-23 (finding medical provider’s
  quantum meruit claim preempted by ERISA for the same reasons as its unjust enrichment claim);
  see also Woodlands Cmty. Ass’n, Inc. v. Mitchell, 162 A.3d 306, 310 (N.J. Super. Ct. App. Div.
  2017) (“Without venturing into the differences between the two, suffice to say that ‘[r]ecovery
  under both of these doctrines requires a determination that defendant has benefitted from plaintiff’s
  performance.’”) (citation omitted).

                                                   16
Case 3:21-cv-12057-ZNQ-TJB Document 31-1
                                    23-1 Filed 08/31/21
                                               07/09/21 Page 25 of 34 PageID: 163
                                                                              110



  insurance premiums from members and beneficiaries in exchange for out-of-network healthcare

  coverage,” Compl. ¶ 70, this allegation cannot serve as a basis for Genesis’s unjust enrichment or

  quantum meruit claims because Genesis did not confer that alleged benefit on United; the members

  and beneficiaries did. See Canadian Nat’l Ry. v. Vertis, Inc., 811 F. Supp. 2d 1028, 1034 (D.N.J.

  2011) (“Under New Jersey law, a claim under the quasi-contractual theory of unjust enrichment

  has two essential elements: (1) that the defendant has received a benefit from the plaintiff, and

  (2) that the retention of the benefit by the defendant is inequitable.”) (emphasis added) (citation

  and internal quotation marks omitted); see also Thieme, 151 A.3d at 557 (stating that unjust

  enrichment “also ‘requires that plaintiff show that it expected remuneration from the defendant at

  the time it performed or conferred a benefit on defendant and that the failure of remuneration

  enriched defendant beyond its contractual rights.’”) (quoting VRG Corp. v. GKN Realty Corp., 641

  A.2d 519, 526 (N.J. 1994)); Restatement (Third) of Restitution and Unjust Enrichment (2011),

  October 2020 Update (stating that the first element of an unjust-enrichment claim is “a benefit

  conferred on the defendant by the plaintiff”).

         The Court should therefore dismiss Count IV as preempted by ERISA.

  III.   GENESIS FAILS TO STATE A CLAIM FOR BREACH OF IMPLIED CONTRACT
         (COUNT II), BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND
         FAIR DEALING (COUNT III), PROMISSORY ESTOPPEL (COUNT V), AND
         VIOLATIONS OF NEW JERSEY HINT ACT & HCAPPA (COUNT VI)

         A.      Genesis Fails To State A Claim For Breach Of Implied Contract (Count II).

         An implied contract “is a true contract arising from mutual agreement and intent to

  promise, but where the agreement and promise have not been verbally expressed.” In re Penn

  Cent. Transp. Co., 831 F.2d 1221, 1228 (3d Cir. 1987). Thus, the “elements necessary to form an

  implied-in-fact contract are identical to those required for an express agreement.” Id. (citation

  omitted). The elements of a breach-of-contract claim are “(1) a contract between the parties; (2) a

  breach of that contract; (3) damages flowing therefrom; and (4) that the party stating the claim
                                                   17
Case 3:21-cv-12057-ZNQ-TJB Document 31-1
                                    23-1 Filed 08/31/21
                                               07/09/21 Page 26 of 34 PageID: 164
                                                                              111



  performed its own contractual obligations.” Frederico v. Home Depot, 507 F.3d 188, 203 (3d Cir.

  2007) (citation omitted).

         Like an express contract, an implied contract “arises from offer and acceptance, and must

  be sufficiently definite so that the performance to be rendered by each party can be ascertained

  with reasonable certainty.” Baer v. Chase, 392 F.3d 609, 618-19 (3d Cir. 2004) (citation and

  internal quotation marks omitted). To that end, parties create an enforceable contract only “when

  they agree on its essential terms and manifest an intent that the terms bind them.” Id. at 619. If

  the parties “do not agree on one or more essential terms of the purported agreement, courts

  generally hold it to be unenforceable.” Id. Two terms that New Jersey courts consider essential

  for contract formation are duration and price. See id.

         Genesis has failed to allege a valid and enforceable contract between the parties. To start,

  Genesis concedes it is not in United’s network of providers and thus “does not have a contract with

  United to accept rates for the services provided to United members or beneficiaries . . . .” Compl.

  ¶ 16. Genesis also fails to identify a single statement, whether written or oral, that United ever

  made supporting the existence of a contract between the parties. For instance, Genesis does not

  allege any details whatsoever regarding what United agreed to pay Genesis, or for how long United

  agreed to pay Genesis. See Baer, 392 F.3d at 619 (stating that price and duration are essential

  terms that must be sufficiently definitive for a contract to exist).

         Instead, Genesis relies on a mere three months’ “course of conduct” as the basis for its

  purported implied contract. See Compl. ¶¶ 53-56. In particular, Genesis alleges that “United has

  paid the majority of claims for COVID-19 diagnostic testing and related testing that Genesis

  submitted for testing provided at the outset of the pandemic in March, April, and May 2020.” Id.

  ¶ 33. Genesis does not allege anything else about the parties’ relationship. Remarkably, Genesis

  does not even allege that its prices during those three months remained constant; instead, it

                                                    18
Case 3:21-cv-12057-ZNQ-TJB Document 31-1
                                    23-1 Filed 08/31/21
                                               07/09/21 Page 27 of 34 PageID: 165
                                                                              112



  concedes that it doubled the price of its COVID-19 diagnostic test in mid-April 2020. See id.

  ¶¶ 26-27 (alleging that Genesis’s cash price for its COVID-19 diagnostic test “was $256.65 until

  mid-April, when it was updated to $513.00”). And of course, Genesis does not allege any facts

  whatsoever about the duration of the parties’ purported agreement. These allegations do not come

  close to plausibly alleging the existence of an implied contract. See Broad St. Surgical Ctr., LLC

  v. United Health Grp., Inc., Civil No. 11-2775 (JBS/JS), 2012 U.S. Dist. LEXIS 30466, at *27

  (D.N.J. Mar. 6, 2012) (dismissing medical provider’s claim for breach of implied contract, based

  on insurer’s history of paying the provider, because the provider failed to set forth any facts that

  would allow the court to discern the terms of the insurer’s alleged promise to pay); Ctr. for Special

  Procs. v. Conn. Gen. Life Ins. Co., Civil Action No. 09-6566 (MLC), 2010 U.S. Dist. LEXIS

  128289, at *17-18 (D.N.J. Dec. 6, 2010) (same); but see Medwell, LLC, 2021 U.S. Dist. LEXIS

  96292, at *8 (finding that a provider pleaded an implied contract because its “allegations that [the

  provider] had a regular billing relationship with [the insurer] lasting fifteen years, coupled with a

  pattern of preauthorization, takes the Amended Complaint beyond merely claiming that an implied

  contract arose from the course of conduct”) (citation, internal quotation marks omitted, and

  bracket).

         In light of these obvious deficiencies, Genesis attempts to bolster its contract allegations

  through reference to the FFCRA and the CARES Act, alleging that certain provisions of those

  federal statutes (and FAQs issued by the Department of Health and Human Services) not only

  permitted its profiteering, but also were somehow incorporated by reference into the parties’

  purported agreement. See Compl. ¶ 56 (alleging that the “parties’ contract indicated that United

  would pay Genesis the statutorily defined value of Genesis’s services (as provided by the FFCRA

  and the Cares Act) for the COVID testing services provided by Genesis”). Genesis does not allege,

  however, that United ever mentioned the FFCRA or the CARES Act during the three months it

                                                   19
Case 3:21-cv-12057-ZNQ-TJB Document 31-1
                                    23-1 Filed 08/31/21
                                               07/09/21 Page 28 of 34 PageID: 166
                                                                              113



  paid for services or at any other time. Instead, Genesis alleges that those statutes required United

  either to pay whatever price Genesis posted on its website—price-gouging notwithstanding—or to

  negotiate a rate with Genesis. See id. ¶¶ 24-27. And, according to Genesis, because United “did

  not make any effort to negotiate a rate with Genesis,” it “is obligated to reimburse Genesis for

  COVID-19 testing services” at the exorbitant rates posted on Genesis’s website. Id. ¶ 27. But

  Genesis does not explain how it may look to the CARES Act and the FFCRA to determine such

  fluctuating and indefinite price terms without any indication from United that it may do so. Put

  simply, Genesis’s attempt to unilaterally incorporate by reference the CARES Act and the FFCRA

  is wholly unsupported, conclusory, and inconsistent with the fundamental contract principle that

  “the parties have an understanding of the terms to which they have agreed.” Noble v. Samsung

  Elecs. Am., Inc., 682 F. App’x 113, 116 (3d Cir. 2017).

         To be sure, Genesis’s reliance on the CARES Act and the FFCRA to establish price terms

  does nothing to cure its failure to allege duration terms. Under New Jersey law, “the duration of

  the contract is deemed an essential term and therefore any agreement must be sufficiently definitive

  to allow a court to determine the agreed upon length of the contractual relationship.” Baer, 392

  F.3d at 619. Genesis’s Complaint does not contain a single allegation about the duration of its

  purported agreement with United. In fact, Genesis appears to allege that the agreement is

  continuing. See Compl. ¶ 18 (alleging that Genesis “provided COVID-19-related testing services

  to over 51,000 patients who are members or beneficiaries of Defendants’ health plans” and that

  “[t]his number continues to grow”). Genesis’s failure to allege duration is fatal to its claim for

  breach of implied contract. See, e.g., Danna v. Expeditive, LLC, Civil Action No. 16-34 (JBS/JS),

  2017 U.S. Dist. LEXIS 750, at *3-4 (D.N.J. Jan 4., 2017) (finding no binding settlement agreement

  existed because the parties “never set the time for performance of the settlement agreement”);

  Kenny v. Onward Search, Civil Action No. 15-0456 (JLL) (JAD), 2015 U.S. Dist. LEXIS 49929,

                                                  20
Case 3:21-cv-12057-ZNQ-TJB Document 31-1
                                    23-1 Filed 08/31/21
                                               07/09/21 Page 29 of 34 PageID: 167
                                                                              114



  at *6-7 (D.N.J. Apr. 15, 2015) (granting motion to dismiss claim for breach of implied contract

  where plaintiff failed to allege duration and other essential terms of the contract)

         Genesis attempts to plead an implied contract as the source of United’s payment obligation

  because it cannot rely on the ERISA plan itself; otherwise, its claim would be preempted. But

  Genesis’s allegations do not give rise to a valid and enforceable contract with United. If they did,

  that would mean that every insurer who paid any medical provider for services contemplated under

  the CARES Act, for a period as short as three months, entered into a binding contract with that

  provider, requiring it to negotiate with the provider or pay any price the provider designated, for

  an indefinite period of time. That result is as absurd as it sounds. The Court should dismiss Count

  II.

         B.      Genesis Fails To State A Claim For Breach Of The Covenant Of Good Faith
                 And Fair Dealing (Count III).

         Genesis’s claim for breach of the covenant of good faith and fair dealing fails because

  Genesis does not allege the existence of a valid contract. See Iwanicki v. Bay State Milling Co.,

  No. 11-01792 (CCC), 2011 U.S. Dist. LEXIS 140944, at *9-10 (D.N.J. Dec. 7, 2011) (“The parties

  must have a valid contract in order for there to be a breach of an implied covenant of good faith

  and fair dealing.”); Noye v. Hoffmann-La Roche, Inc., 570 A.2d 12, 14 (App. Div. 1990) (“In the

  absence of a contract, there can be no breach of an implied covenant of good faith and fair

  dealing.”). Because no implied covenant of good faith and fair dealing exists without a valid

  contract, Genesis cannot state a claim for breach of such a covenant.

         Even if Genesis alleged a valid contract, its claim for breach of the covenant of good faith

  and fair dealing fails because it is duplicative of its breach-of-contract claim. See, e.g., Somerset

  Orthopedic Assocs., P.A. v. Aetna, Inc., Civ. No. 19-12544, 2019 U.S. Dist. LEXIS 185160, at

  *27-28 (D.N.J. Oct. 21, 2019) (“[A] breach of the covenant of good faith and fair dealing must not

  arise out of the same conduct underlying an alleged breach of a literal term of the contract.”); MZL
                                                   21
Case 3:21-cv-12057-ZNQ-TJB Document 31-1
                                    23-1 Filed 08/31/21
                                               07/09/21 Page 30 of 34 PageID: 168
                                                                              115



  Cap. Holdings, Inc. v. TD Bank, N.A., Civil No. 14-5772 (RMB/AMD), 2016 U.S. Dist. LEXIS

  103177, at *30 (D.N.J. Aug. 5, 2016) (“[Where] a claim for breach of the implied covenant of

  good faith and fair dealing is premised upon the same conduct as a breach of contract claim, the

  [implied-covenant] claim cannot stand and must be dismissed as duplicative or redundant.”).

  Genesis’s implied-covenant claim is duplicative of its breach-of-contract claim because both

  claims focus on the exact same conduct: United’s alleged failure to pay for COVID-19 testing

  services. Critically, Genesis does not allege that United “has acted consistent with the contract’s

  literal terms,” as it must to state a claim for breach of the implied covenant of good faith and fair

  dealing. See MZL Cap. Holdings, Inc., 2016 U.S. Dist. LEXIS 103177, at 29-30 (“The breach of

  the implied covenant arises when the other party has acted consistent with the contract’s literal

  terms, but has done so in such a manner so as to ‘have the effect of destroying or injuring the right

  of the other party to receive the fruits of the contract.’”) (emphasis in original) (citations omitted).

  Rather, Genesis alleges that United “acted in bad faith by erecting hurdles to payment without

  justification,” Compl. ¶ 11, and “withheld payment for COVID-19 testing services in bad faith,”

  id. at 12. These allegations go to United’s alleged failure to pay and thus are duplicative of the

  allegations supporting Genesis’s breach-of-contract claim.

         Genesis fails to state a claim for breach of the covenant of good faith and fair dealing

  irrespective of whether it alleges a valid contract. The Court should therefore dismiss Count III.

         C.      Genesis Fails To State A Claim For Promissory Estoppel (Count V).

         To state a claim for promissory estoppel, a plaintiff must allege (1) “a clear and definite

  promise”; (2) “made with the expectation that the promisee will rely upon it”; (3) “reasonable

  reliance upon the promise”; and (4) that the promisee’s reliance on the promise resulted “in definite

  and substantial detriment.” E. Orange Bd. of Educ. v. N.J. Sch. Constr. Corp., 963 A.2d 865, 875

  (N.J. Sup. Ct. App. Div. 2009).

                                                    22
Case 3:21-cv-12057-ZNQ-TJB Document 31-1
                                    23-1 Filed 08/31/21
                                               07/09/21 Page 31 of 34 PageID: 169
                                                                              116



         Genesis’s promissory estoppel claim fails because it has not alleged any promise—let alone

  “a clear and definite” one—that United made to Genesis. See Schweikert v. Baxter Healthcare

  Corp., No. 12-5876 (FLW/DEA), 2015 U.S. Dist. LEXIS 98627, at *15 (D.N.J. July 29, 2015)

  (describing this element as the sine qua non of a promissory estoppel claim). A plaintiff’s “general

  expectation” of a benefit is insufficient to give rise to a cause of action for promissory estoppel.

  See Doe v. Princeton Univ., 790 F. App’x 379, 386 (3d Cir. 2019); E. Orange Bd. of Educ., 963

  A.2d at 874-75. Further, Genesis’s allegations of a three-month “course of conduct” involving

  unspecified payment and duration terms are far from adequate, particularly where United sought

  additional information from Genesis in order to gain more insight into Genesis’s claims to no avail.

  See Haghighi v. Horizon Blue Cross Blue Shield of N.J., No. 19-20483 (FLW), 2020 U.S. Dist.

  LEXIS 157246, at *18 (D.N.J. Aug. 31, 2020) (dismissing medical provider’s promissory estoppel

  claim against insurer where “the pleadings [were] entirely devoid of factual allegations that

  relate[d] to a fixed or agreed-upon rate of compensation”); Zhejiang Rongyao Chem. Co., Ltd. v.

  Pfizer Inc., No. 11-5744 (PGS), 2012 U.S. Dist. LEXIS 137136, at *16 (D.N.J. Sept. 21, 2012)

  (dismissing promissory estoppel claim because the “[c]omplaint is devoid of any specific

  allegations regarding who communicated the alleged promise . . . when and where it was made, or

  what the specific parameters of the promise were”). The Court should dismiss Count V.

         D.      Genesis Fails To State A Claim For Violations Of New Jersey HINT Act &
                 HCAPPA (Count VI)

         As discussed above, Genesis cannot state a claim for violations of New Jersey’s HINT Act

  or HCAPPA because neither statute affords a private right of action. See MHA, LLC, 2021 U.S.

  Dist. LEXIS 94147, at *18. But in the event the Court elects to imply a private right of action

  under those statutes (and it should not), the Court should nevertheless dismiss Genesis’s claim

  because the HINT Act and HCAPPA are inapplicable to the very conduct alleged in the Complaint.


                                                  23
Case 3:21-cv-12057-ZNQ-TJB Document 31-1
                                    23-1 Filed 08/31/21
                                               07/09/21 Page 32 of 34 PageID: 170
                                                                              117



         Genesis alleges that United failed to pay the claims at issue within the time limits

  prescribed by the HINT Act, as amended by HCAPPA. See Compl. ¶¶ 82-85. The relevant

  provisions of the HINT Act set forth timetables for when insurers must either remit payments for

  claims that are undisputed, see N.J.S.A. § 17B:26-9.1(d)(1) (for individual policies) and § 17B:27-

  44.2(d)(1) (for group policies) (together, “Section (d)(1)”), or, if the claims are disputed, provide

  notice of the defect in the claim and instructions for curing the defect, see § 17B:26-9.1(d)(2) (for

  individual policies) and § 17B:27-44.2(d)(2) (for group policies) (together, “Section (d)(2)”).

  Here, Section (d)(1) cannot apply because, based on Genesis’s own allegations, the claims at issue

  are disputed. See, e.g., Compl. ¶ 34 (alleging that United sent “requests for clinical records and

  other supporting documents for the services that Genesis provided United’s members and

  beneficiaries”). Section (d)(1) is therefore inapplicable. See Briglia v. Horizon Healthcare Servs.,

  Civil Action No. 03-6033 (FLW), 2005 U.S. Dist. LEXIS 18708, at *30-33 (D.N.J. May 13, 2005)

  (finding Section (d)(1) inapplicable where the insurer disputed the claims at issue).

         Section (d)(2), on the other hand, applies where the insurer did not pay within the time

  prescribed because: (a) “the claim submission is incomplete because the required substantiating

  documentation has not been submitted to the payer”; (b) “the diagnosis coding, procedure coding,

  or any other required information to be submitted with the claim is incorrect”; (c) “the payer

  disputes the amount claimed”; or (d) “there is strong evidence of fraud by the provider and the

  payer has initiated an investigation into the suspected fraud.” § 17B:26-9.1(d)(2)(a)-(d) and

  § 17B:27-44.2(d)(2)(a)-(d). Section (d)(2) further provides that, under these scenarios, the insurer

  must notify the provider that: (i) “the claim is incomplete with a statement as to what substantiating

  documentation is required for adjudication of the claim”; (ii) “the claim contains incorrect

  information with a statement as to what information must be corrected for adjudication of the

  claim”; (iii) “the payer disputes the amount claimed in whole or in part with a statement as to the

                                                   24
Case 3:21-cv-12057-ZNQ-TJB Document 31-1
                                    23-1 Filed 08/31/21
                                               07/09/21 Page 33 of 34 PageID: 171
                                                                              118



  basis of that dispute”; or (iv) “the payer finds there is strong evidence of fraud and has initiated an

  investigation” or “referred the claim, together with supporting documentation, to the Office of the

  Insurance Fraud Prosecutor.” § 17B:26-9.1(d)(2)(d)(i)-(iv) and § 17B:27-44.2(d)(2)(d)(i)-(iv).

  Genesis does not allege that United failed to provide it with notification required under Section

  (d)(2). See Briglia, 2005 U.S. Dist. LEXIS 18708, at *33-34 (dismissing claim under the HINT

  Act where provider failed to allege insurer did not provide required notification under Section

  (d)(2)). In fact, Genesis’s allegations confirm that United did notify Genesis that its claims were

  incomplete and required substantiating documentation. See, e.g., Compl. ¶ 34. Genesis therefore

  fails to state a cognizable claim under the HINT Act or HCAPPA.

  IV.    UNITEDHEALTH GROUP INCORPORATED SHOULD BE DISMISSED.

         Genesis fails to allege any misconduct by UHG in its Complaint. That is not surprising, as

  UHG is not named in any of the benefit plans at issue, nor has it administered or paid any claims

  at issue. Instead, Genesis alleges only that UHG owns its co-defendants and is a profitable

  corporation. See Compl. ¶¶ 2–4, 9. That is not enough. “It is a general principle of corporate law

  deeply ‘ingrained in our economic and legal systems’ that a parent corporation . . . is not liable for

  the acts of its subsidiaries.” United States v. Bestfoods, 524 U.S. 51, 61 (1998) (citation omitted).

  A plaintiff “seeking to hold a parent corporation liable for the actions . . . of its subsidiary,” must

  “show that the parent corporation caused the affairs of the subsidiary to be so controlled and

  managed that it could be said that the subsidiary was a mere instrumentality or adjunct or agency

  of the parent.” Masterson Pers., Inc. v. McClatchy Co., Civ. No. 05-1274, 2005 WL 3132349, at

  *5 (D. Minn. Nov. 22, 2005) (quoting Majestic Co. v. Orpheum Cir., Inc., 21 F.2d 720, 725 (8th

  Cir. 1927)). Genesis fails to allege facts satisfying that stringent standard. See id. (dismissing

  claims against parent company because “the Complaint does not contain factual allegations to




                                                    25
Case 3:21-cv-12057-ZNQ-TJB Document 31-1
                                    23-1 Filed 08/31/21
                                               07/09/21 Page 34 of 34 PageID: 172
                                                                              119



  support Plaintiffs’ claim that [parent] is acting beyond the parameters of its status as an investor

  in [subsidiary]”). The Court should dismiss UHG.

                                              CONCLUSION

         For the foregoing reasons, United respectfully requests that the Court dismiss Genesis’s

  Complaint in its entirety with prejudice.


  Dated: July 9, 2021                           s/Jenny Kramer
                                                Jenny Kramer
                                                Christopher J. Borchert
                                                ALSTON & BIRD LLP
                                                90 Park Avenue
                                                New York, New York 10016
                                                Tel. (212) 210-9400
                                                Fax (212) 210-9444
                                                Jenny.Kramer@alston.com
                                                Christopher.Borchert@alston.com

                                                William H. Jordan (admitted pro hac vice)
                                                Jordan Elise Edwards (admitted pro hac vice)
                                                ALSTON & BIRD LLP
                                                One Atlantic Center
                                                1201 West Peachtree Street
                                                Atlanta, Georgia 30309
                                                Tel. (404) 881-7000
                                                Fax (404) 881-7777
                                                Bill.Jordan@alston.com
                                                Jordan.Edwards@alston.com

                                                Attorneys for Defendants




                                                  26
